         Case 1:22-mj-00053-ZMF Document 1-1 Filed 03/07/22 Page 1 of 3




                                  STATEMENT OF FACTS


        The FBI, and other law enforcement agencies, have been conducting a criminal
investigation into individuals believed to be responsible for more than a dozen commercial armed
robberies since January 1, 2022, in Washington, D.C.; Montgomery County, MD; and Prince
George’s County, MD. Many of these armed robberies have been linked by vehicles used during
the robberies, physical characteristics of the assailants, weapons used, and surveillance videos.

        Law enforcement was able to identify a black Acura TLX which was used in a number of
armed robberies throughout February 2022. On February 22, 2022, the FBI recovered a black
Acura TLX, bearing false Maryland temporary tags, which was consistent with a vehicle used in
a number of the armed robberies. Law enforcement was able to determine the registered owner of
the Acura TLX from the VIN number on the vehicle and contacted the owner. According to the
owner, the Acura TLX was stolen in January 2022 and had Maryland hard tags on it when it was
stolen. The owner consented to a search of the vehicle including the “infotainment system.”
Information obtained from the infotainment system provided some location information for the
vehicle (analysis is ongoing). Location information showed that on multiple occasions the black
Acura TLX stopped around two locations—one in Northwest Washington, DC near the 5000 block
of 1st St NW; and one in Northeast Washington, DC. Surveillance footage from the 5000 block of
1st St NW corroborated the infotainment system information.

       On March 1, 2022, the Metropolitan Police Department (MPD) located a dark grey Lexus
ES350 near the location in Northeast Washington, DC that the black Acura TLX had frequented.
The vehicle was parked in such a way that it appeared whoever had parked it had attempted to
obscure any tags. Upon obtaining the tag information for that Lexus it was determined that the tags
belonged on a Ford and that it was reported stolen out of Maryland. An analysis of the VIN of the
Lexus determined that it was stolen out of Maryland. Law enforcement was able to contact the
owner of the Lexus and on Wednesday March 2, 2022, FBI agents obtained consent from the
vehicle owner to place a GPS tracking device on the Lexus.

        On Sunday, March 6, 2022, at approximately 9:30 a.m. the GPS tracker alerted that the
Lexus had moved. FBI physical surveillance tracked the vehicle to the area of 5000 1st ST NW,
which is one of the locations the black Acura TLX had frequented. One individual was driving the
vehicle. At approximately 11:45 a.m., FBI physical surveillance observed the Lexus park at the
intersection of 1st St., NW, and Farragut St., NW. Physical surveillance watched the vehicle until
approximately 1:18 p.m. when two individuals departed 5006 1st ST NW and entered the Lexus.
The two individuals who entered the Lexus did not appear consistent with the individual who had
parked the vehicle earlier. Surveillance footage also captured the movement of the Lexus.

        Moments after the two individuals entered the Lexus, the Lexus departed the area north on
1st St. NW. FBI agents initiated a traffic stop and the Lexus attempted to flee. FBI agents blocked
the intersection of 1st St and Gallatin St NW and the occupants in the Lexus, who were later
identified as Stephon Harrigan and Aaron Harrigan, fled on foot. Aaron Harrigan was detained on
New Hampshire Avenue. Stephon Harrigan ran south on 1st St NW and entered an alley that led
to the parking lot of the Avenue Supermarket located at 5010 New Hampshire Ave, NW. Stephon
Harrigan then entered a woman’s (V1) vehicle and physically forced her to drive him away from
                                                1
         Case 1:22-mj-00053-ZMF Document 1-1 Filed 03/07/22 Page 2 of 3



the area. V1 wrecked into an unmarked MPD cruiser conducting surveillance in the area. Stephon
Harrigan again attempted to flee on foot, but was detained.

        A review of contents visible in plain view of the Lexus revealed a stack of credit cards and
ID’s in the driver’s door handle which were inconsistent with either Harrigan brother and appeared
to be stolen. Additionally, a jacket in the back seat matched the description and surveillance
footage of a jacket used in some of the armed robberies referenced above. A subsequent search of
the Lexus revealed several cell phones; an apple watch; various keys, including an Acura key; and
a dark navy jacket with a white zipper consistent with a jacket worn by one of the suspects in a
number of armed robberies.

        On March 6, 2022, pursuant to a search warrant, law enforcement searched a residence
connected to the Harrigan brothers at 5006 1st ST NW, Washington, D.C. In the living room,
where family members indicated Aaron Harrigan slept, law enforcement recovered a computer
and approximately 7 social security cards and 3 ID cards. Law enforcement also recovered
approximately 12 sets of car keys in the residence. None of the social security cards or IDs appear
to belong to any of the occupants of 5006 1st ST NW and some of them are linked to addresses in
Maryland. Inside the Lexus referenced above was an ID and credit cards which corresponded to
one of the social security cards found inside of 5006 1st St NW. Similarly, the car keys recovered
appear to be from various types of vehicles including Mercedes, Acura, Toyota, Honda, and other
yet unidentified vehicles.

       In a bedroom primarily occupied by a female relative of the Harrigan brothers, law
enforcement located men’s clothing and shoes and a firearm. A relative on scene indicated that
Stephon Harrigan sometimes stayed in that bedroom and the men’s clothing and firearm would
have been his. A photograph of Stephon Harrigan’s girlfriend was also located in the apartment.
Medication and documents with Stephon Harrigan’s name on them were also found in the
apartment.

        The firearm recovered was determined to be a black firearm with a silver ejection port, .40
caliber with no serial number. This firearm appeared to be a Personally Made Firearm (PMF)
commonly known as a “ghost gun.” At the time it was recovered, it was loaded with 12 rounds in
a 13 round magazine and 1 in the chamber. There are no firearm or ammunition manufacturers in
the District of Columbia. Therefore, the ammunition in this case would have traveled in interstate
commerce prior to being recovered in the District of Columbia.

       During a post-arrest, Mirandized, interview, Aaron Harrigan waived his rights and agreed
to speak with law enforcement. Aaron Harrigan stated that his “thing” is stealing cars and selling
them. He indicated he knew the Lexus he was driving on March 6, 2022 was stolen and he was on
his way to sell it when he was arrested. He also admitted that he got the social security cards and
IDs from stolen vehicles.

        A criminal history check of Stephon Harrigan through the National Crime Information
Center (NCIC) confirmed that the defendant has prior felony convictions in the Superior Court for
the District of Columbia including Assault on a Police Officer in case 2014-CF2-004133; Unlawful
Possession of a Firearm or Ammunition in case 2019-CF2-016092; Carrying a Pistol without a
License in case 2012-CF2-001397; and Unauthorized Use of a Vehicle in 2013-CF2-02144. The
defendant was sentenced to over one year of incarceration for each of these convictions. Therefore,
                                                 2
        Case 1:22-mj-00053-ZMF Document 1-1 Filed 03/07/22 Page 3 of 3



the defendant would have been aware at the time of his arrest in this case that he had a prior
conviction for a crime punishable by more than one year.


                                           _________________________________
                                           Special Agent Joshua Smith-Shimer
                                           Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 7th day of March, 2022.
                                                                 Zia M. Faruqui
                                                                 2022.03.07 17:34:02
                                                                 -05'00'
                                                  ___________________________________
                                                  ZIA FARUQUI
                                                  U.S. MAGISTRATE JUDGE




                                              3
